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      MANAGEMENT, LLC



                                     IN THE UNITED STATES DISTRICT COURT

                                             FOR THE DISTRICT OF OREGON

                                                 PORTLAND DIVISION


       SECURITIES AND EXCHANGE                                                    No. 3:16-Cv-00438-JR
       COMMISSION,
                                                           RECEIVER'S REQUEST FOR APPROVAL
                              Plaintiff,                   OF TWENTY-FOURTH INTERIM FEE
                                                           APPLICATION
               v.

       AEQUITAS MANAGEMENT, LLC;
       AEQUITAS HOLDINGS, LLC;
       AEQUITAS COMMERCIAL FINANCE,
       LLC; AEQUITAS CAPITAL
       MANAGEMENT, INC.; AEQUITAS
       INVESTMENT MANAGEMENT, LLC;
       ROBERT J. JESENIK; BRIAN A. OLIVER;
       and N. SCOTT GILLIS,

                              Defendants.




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                                                      LOCAL RULE 7-1

               Owing to the complexity and volume of the Receiver’s Request for Approval of Twenty-

     Fourth Interim Fee Application, the Receiver has not sought to confer with the other parties or

     counsel as would normally be required under Local Rule 7-1. In accordance with the direction

     set forth in the Order Appointing Receiver, the Receiver provided the Securities and Exchange

     Commission (the “Commission”) complete copies of the detailed invoices of all of the firms

     prior to the filing of this Application and received no objection from the Commission.

                                                 I.    RELIEF REQUESTED

               The Court-Appointed Receiver in this action, Ronald F. Greenspan, respectfully requests

     the Court’s approval to pay the interim fees and expenses of the Receiver and the professional

     service firms that have rendered services on behalf of the Receivership Entity for the period from

     January 1, 2022 through March 31, 2022 (the “Twenty-Fourth Application Period”).

               The efforts of the Receiver and the professionals on behalf of the Receivership Entity are

     set forth in detail in the March 31, 2022 Report of the Receiver (the “March 2022 Report”)1 as

     well as in the summary invoice of each professional, which are attached to the Declaration of

     Ronald F. Greenspan (the “Greenspan Declaration”) filed contemporaneously with this motion.2

     As the Court is aware, this is a very complex and otherwise difficult case. The information

     contained in the March 2022 Report and in the summary invoices demonstrates both the necessity

     of the services provided, as well as the reasonableness of the resulting fees and expenses.

               The Court has previously approved the engagement of each of the professional service




     1
         Dkt. 979.
     2
         Greenspan Declaration, Exhibits B through D.
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     firms. In accordance with the request of the Commission, all of the firms have discounted their

     standard hourly rates. The fees and expenses submitted to the Court for approval are consistent

     with the Billing Instructions for Receivers in Civil Actions Commenced by the U.S. Securities

     and Exchange Commission (the “Billing Instructions”). In accordance with the direction set forth

     in the Order Appointing Receiver, the Receiver provided the Commission complete copies of the

     detailed invoices of all of the firms prior to the filing of this Application and the Commission

     does not object to the Application. Prior fees and expenses requested, allowed, and paid by the

     Receivership Entity are set forth in detail below.

                                                 II.   BACKGROUND

               On March 10, 2016, the Commission filed a Complaint (the “Complaint”) against the

     Entity Defendants as well as Robert J. Jesenik, Brian A. Oliver and N. Scott Gillis (collectively

     the “Individual Defendants”), for alleged violation of Federal Securities Laws in what the

     Commission describes as a “Ponzi-like” scheme [Dkt. 1]. The Commission alleges that the

     Individual Defendants, all principals of one or more of the Entity Defendants, defrauded

     investors and also misused investor funds to pay operating expenses and to repay earlier

     investors.3 The Commission further alleges that “[b]y the end of 2015 [Aequitas] owed investors

     $312 million and had virtually no operating income to repay them.”4 The investments identified

     by the Commission refer to the funds borrowed by ACF, one of the 48 entities composing the



     3
      Dkt. 1, ¶¶ 1-7. Of note, one of the Individual Defendants, Brian Oliver, has pleaded guilty to
     conspiracy to commit mail and wire fraud in violation of 18 U.S.C. § 1349 and conspiracy to
     commit money laundering in violation of 18 U.S.C. § l 956(h). Additionally, the former CFO
     Olaf Janke has also pleaded guilty to the same charges. Four additional former directors and
     officers have also been indicted.
     4
         Dkt. 1, ¶ 5.
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     Receivership Entity. In total, there are over $600 million of investor funds in the Receivership

     Entity.

               On March 16, 2016, pursuant to the Stipulated Interim Order Appointing Receiver,

     Ronald F. Greenspan was appointed as Receiver for the Entity Defendants and 43 related entities

     on an interim basis (the “Interim Order”). On April 14, 2016, pursuant to the Order Appointing

     Receiver, Mr. Greenspan was appointed as Receiver for the Receivership Entity on a final basis

     (the “Final Receivership Order”).5 In very general terms, the Receiver is directed to marshal and

     preserve assets of the Receivership Entity.

               The Receiver filed a voluntary report and recommendations to the Court (the “Initial

     Report”) for the first “stub quarter” ending June 30, 2016 [Dkt. 246], the first mandated quarterly

     report covering the period through September 30, 2016 [Dkt. 298] and subsequent reports

     covering the period through December 31, 2016 [Dkt. 365], through March 31, 2017 [Dkt. 444],

     through June 30, 2017 [Dkt. 491], through September 30, 2017 [Dkt. 559], through December

     31, 2017 [Dkt. 587], through March 31, 2018 [Dkt. 610], through June 30, 2018 [Dkt. 644],

     through September 30, 2018 [Dkt. 662], through December 31, 2018 [Dkt. 674], through March

     31, 2019 [Dkt 700], through June 30, 2019 [Dkt. 749], September 30, 2019 [Dkt. 776], through

     December 31, 2019 [Dkt. 793], through March 31, 2020 [Dkt. 826], through June 30, 2020 [Dkt.

     843], through September 30, 2020 [Dkt. 860], through December 31, 2020 [Dkt. 872], March 31,

     2021 [Dkt. 885], through June 30, 2021 [Dkt. 903], through September 30, 2021 [Dkt. 915], and

     through December 31, 2021 [Dkt. 922], which are collectively referred to herein as the




     5
         Dkt. 156.
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     “Receiver’s Reports.” The March 2022 Report [Dkt. 979] is the Receiver’s report and

     recommendations to the Court for the quarter ending March 31, 2022. The contents of the

     Twenty-Fourth Interim Fee Application, like the focus of the March 2022 Report, provides the

     basis for the fees and expenses incurred by the professionals on behalf of the Receivership for

     the quarter ending March 31, 2022.

               A.        The Receiver has continued to successfully preserve and monetize
                         Receivership assets, as well as implement the claims process and the
                         distributions of Receivership assets.

               The Receiver has successfully stabilized the Receivership Entity, preserved value when

     possible and facilitated the monetization of a majority of the Receivership assets, obtained

     approval of the Distribution Plan and completed three, Court-approved interim distributions of a

     majority of the Receivership assets. Through the quarter ended March 31, 2022, the Receiver has

     sold Receivership Entity gross assets and collected receivables totaling approximately $325

     million, plus an additional $32 million of gross assets owned by CPFIT (an affiliate of the

     Receivership Entity but excluded from the Receivership itself), has collected proceeds from

     litigation and settlements totaling approximately $19 million, and has negotiated claims

     reductions exceeding $95 million as part of approved settlement agreements.

               The Receiver has also entered into and substantially completed the implementation of a

     settlement with the Consumer Financial Protection Bureau (“CFPB”) and fourteen state

     Attorneys General in connection with the Corinthian Colleges student loan portfolio held by

     Campus Student Funding, LLC, including modification or cancellation of each of the

     approximately 47,000 loans, and appropriate notification to each of the borrowers.

               As previously discussed, on March 10, 2016, the SEC filed a complaint in this Court

     alleging that certain Aequitas executives and five entities had violated various federal securities
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     laws. On June 6, 2016, the SEC and the Receiver, acting on behalf of the Aequitas Entity

     Defendants, filed a consent judgment with the Court, which resolved the claims set forth in the

     SEC Complaint against the Entity Defendants only, without admitting or denying the numerous

     allegations. A final judgement in this case as to Aequitas Management, LLC; Aequitas Holdings,

     LLC; Aequitas Commercial Finance, LLC; Aequitas Capital Management, Inc; and Aequitas

     Investment Management, LLC was entered by the Court on April 13, 2020 [Dkt. 822]. Summary

     information related to this judgment and final judgments on consent against the three top

     executives can be found at https://www.sec.gov/litigation/litreleases/2020/lr24805.htm.

               As mandated by the Final Receivership Order, the Receiver conducted his forensic

     investigation and the resulting forensic report (the “Forensic Report”) was filed with the Court

     on November 21, 2018 [Dkt. 663].

               On April 25, 2019, the Court entered the Order (1) Establishing Claims Bar Date, (2)

     Approving The Form And Manner Of Notice, And (3) Approving The Proof Of Claim Form,

     Procedures And Other Related Relief (the “Claims Procedures Order”).

               The Receiver then proceeded expeditiously to implement the claims process as mandated

     in the Claims Procedures Order. As of March 31, 2022, 341 claims had been received and 4,830

     Notices of Receiver’s Initial Determination had been issued.6 The Receiver has adjudicated the

     vast majority of the claims that were filed against the Receivership Estate and is actively

     pursuing resolution of a handful of remaining claims.




     6
       Certain claims agree with the Notice of Receiver’s Initial Determination, and a number of filed
     claims are duplicative. Therefore, the number of actual claims is less than the sum of the filed
     claims and NODs issued.
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               On December 23, 2019, with the goal of mitigating certain potential tax consequences

     and maximizing the future distributions on the Allowed Claims, the Receiver filed his motion

     and the Court entered the Order to Authorize, Approve, and Take Continuing Jurisdiction Over a

     Qualified Settlement Fund (“QSF”), and For Related Relief [Dkt. 781]. Subsequently, on

     December 31, 2019, the Receiver filed his Motion for Order (1) Approving Form And Manner

     Of Notice Regarding Approval Of Proposed Distribution Plan And Ponzi Determination, (2)

     Approving Procedures And Deadlines, (3) Setting A Hearing, And For Related Relief [Dkt. 785],

     which was approved by the Court on January 14, 2020 [Dkt. 790].

               Also on December 31, 2019, the Receiver filed his Motion to Approve the Receiver’s

     Distribution Plan And Determination Of A Ponzi Scheme [Dkt. 787]. The Court held a

     telephonic hearing on this Motion on March 31, 2020 and, following no objections raised at the

     hearing or otherwise remaining unresolved, the Court entered Findings of Fact and Conclusions

     of Law, approving the Receiver’s Distribution/Ponzi Determination Motion, as expressly

     modified by the Receiver [Dkt. 813].

               In the first half of 2020, the Receivership staff and the retained professionals

     expeditiously managed a distribution plan noticing campaign based on the form and manner of

     notice that had been approved by the Court. At least 4,796 notices were sent to the parties that

     were required to be noticed by the Court and relevant information was posted on the

     Receivership website.

               On May 15, 2020, the Receiver’s Motion to Approve Classification, Allowance of the

     Amount of Claims for Certain Claimants (Administrative Claims, Convenience Class Claims,

     and Former-Employment Claims), and Approving Distributions to those Claimants [Dkt. 835]

     and the related pleadings were filed with the Court. The Motion was unopposed and was
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     approved by the Court on June 1, 2020 [Dkt. 838]. Following Court approval in June of 2020,

     the Receivership staff and retained professionals completed the first distribution in the amount of

     $973,797.

               On October 21, 2020, the Receiver's (Second) Motion to Approve Classification of

     Certain Claims (Administrative, Former-Employees, Convenience Class, Defrauded Investors,

     Creditors, Individual Defendants, and Pass-Through Investors), and Allow and Approve

     Distributions on Account of Certain Claims (“Second Distribution Motion”) and related

     pleadings were filed with the Court. [Dkt. Nos. 848-850]. This Motion addressed 2,056 claims

     across seven different claim classes. The Second Distribution Motion was approved by the Court

     on November 10, 2020 [Dkt. 861]. The Second Distribution was substantially completed by the

     end of 2020, with approximately $73.5 million going to Defrauded Investors.

               In the first quarter of 2021, the Receivership staff and the retained professionals focused

     on the various tasks of completing the Second Distribution, including but not limited to extensive

     communication with the Investors and their representatives, addressing Investor inquiries, re-

     issuing distributions on a case-by-case basis under special circumstances, and preparing for and

     implementing required tax reporting related to the Second Distribution.

               During the second quarter of 2021, the Receivership staff and the retained professionals

     prepared for the next (third) interim distribution and resolution of the remaining claims. On July

     16, 2021, distribution notices were mailed to 1,674 parties and relevant information, including

     answers to an exhaustive set of FAQs was posted on the Receivership website. On July 19, 2021,

     the Receiver filed a Third Motion to Approve Classification of Certain Claims (Administrative,

     Convenience Class, Creditors, and Defrauded Investors), Allow and Approve Distributions on

     Account of Certain Claims, and Approving Distributions to Claimants Who Elect
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     Reclassification To Convenience Class Status (the “Third Distribution Motion”), by which the

     Receiver proposed to distribute approximately $22 million to several classes of claimants. The

     Third Distribution Motion was approved by the Court on August 5, 2021. The Receiver

     completed the third interim distribution in the fourth quarter of 2021.

               From the outset of the Receivership and through this Application Period, the Receiver

     and his team have expended considerable time and effort to orchestrate successful resolution of

     investors’ claims against the professional firms that served the various Aequitas entities such as

     Tonkon Torp, Integrity Bank & Trust, Deloitte & Touche, EisnerAmper, Sidley Austin, Duff &

     Phelps, and TD Ameritrade (“Professional Firm Defendants”).

               In particular, development of the Receivership Entity’s consolidated database,

     preparation of the Forensic Report and facilitation of multiple large-scale, multi-day

     mediation sessions paved the way for the following:

                                  Payments from the Professional Firm Defendants to the class

                                   totaling $234,613,000, as well as multiple additional seven- and

                                   eight-figure payments to other plaintiff groups presently subject to

                                   confidentiality agreements;

                                  Releases of contribution and other claims of the Professional Firm

                                   Defendants against the Receivership Entity, including the release

                                   of $50 million contribution claim presented by Deloitte; and

                                   Contingent releases of contribution and other claims of the

                                   Professional Firm Defendants against the Individual Defendants,

                                   Advisory Board members and other former officers and directors.

                                   The original releases were contingent upon those parties releasing
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                                 claims to the proceeds of the insurance policies maintained by

                                 entities comprising the Receivership Entity.

             The efforts of the Receiver to facilitate resolution of investor claims against the

   Professional Firm Defendants have greatly accelerated anticipated distributions to the

   investors, both direct distributions of the settlement proceeds and ultimately distributions

   from the Receivership estate and will meaningfully reduce the cost of administering the

   Receivership.

             On October 22, 2020, the Receiver filed a Motion for Order (1) Approving

   Compromises of Claims, (2) Approving and Authorizing Performance of Settlement

   Agreements, (3) Entering Claims Bars, and (4) Removing a Receivership Entity and an

   Extended Entity (“Motion to Approve Settlements”) and related pleadings [Dkt. Nos. 852

   – 855] encompassing 36 settlements. Amongst other requested relief, the Receiver

   sought approval of the settlement agreement resolving all claims presented in the

   consolidated insurance coverage action other than those of the Receiver against Catlin.

   Judge Jolie A. Russo granted the Receiver’s Motion to Approve Settlements on

   November 10, 2020, by way of Findings, Recommendations and Order [Dkt. 862], that

   were simultaneously referred to Judge Marco A. Hernandez for review [Dkt.863]. On

   December 11, 2020, Judge Hernandez issued an Order adopting Judge Russo’s Findings

   and Recommendation and granted the Receiver’s Motion to Approve Settlements [Dkt.

   866] and entered the Amended Limited Judgment As To The Professional Firms And The

   Terrell Parties, including Permanent Injunctions [Dkt. 876].

             On April 16, 2021, the Receiver filed a Motion for Order Approving

   Compromises of Claims and Authorizing Performance of Settlement Agreements
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   (“Second Motion to Approve Settlements”) and related pleadings [Dkt. Nos. 881-883]

   involving 47 additional settlements. On May 6, 2021, the Court entered an order granting

   the Receiver’s Second Motion to Approve Settlements. [Dkt. No. 886].

             On July 7, 2021, the Receiver filed another Motion for Order Approving

   Compromises of Claims and Authorizing Performance of Settlement Agreements (“Third

   Motion to Approve Settlements”) and related pleadings [Dkt. Nos. 889-891], that was

   granted by the Court on July 26, 2021 [Dkt. No. 898].

             On October 27, 2021, the Receiver filed another Motion for Order Approving

   Compromises of Claims and Authorizing Performance of Settlement Agreements

   (“Fourth Motion to Approve Settlements”) and related pleadings [Dkt. Nos. 912-914],

   seeking the Court’s approval of 25 additional settlement agreements that collectively

   result in payments to the Receivership Estate totaling $1,207,892.90. On November 23,

   2021, the Court entered an order granting the Receiver’s Fourth Motion to Approve

   Settlements [Dkt. No. 916].

             During this Application Period, on March 24, 2022, the Receiver filed another

   Motion for Order Approving Compromises of Claims and Authorizing Performance of

   Settlement Agreements (“Fifth Motion to Approve Settlements”) and related pleading

   [Dkt. Nos. 961-963], seeking the Court’s approval of 16 additional settlement agreements

   that collectively result in payments to the Receivership Estate totaling $1,111,798.00. On

   April 12, 2022, the Court entered an order granting the Receiver’s Fifth Motion to

   Approve Settlements [Dkt. No. 974].

             The settlements addressed in the Receiver’s First, Second, Third, Fourth, and

   Fifth Motions to Approve Settlements resulted in over $22.3 million in direct monetary
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   benefits to the Receivership Estate. Additionally, these settlements have eliminated tens

   of millions of dollars of claims against the Receivership Estate, materially increasing the

   recovery on the allowed claims of the Defrauded Investors and others.

             During this Application Period, the Receiver and Receivership professionals

   worked on the resolution of the claims filed by American Student Financial Group, Inc.

   and TRD Consulting, LLC, as discussed in more detail further in the Application.

             The Receiver and his retained professionals continue to actively pursue recoveries

   on the remaining claims that the Receivership holds against various parties, including but

   not limited to a very limited number of non-settling net winners and other parties who

   received transfers of value from Aequitas during the Ponzi period. The Receiver’s goal is

   to conclude these recovery efforts during 2022, although this timetable will necessarily

   depend upon the posture of the adverse parties and the Court’s calendar.

             During the subject reporting period, the Receiver and his remaining retained

   professionals continue to work on various aspects of the gradual operational wind down, despite

   the challenges presented by the COVID-19 pandemic. Earlier in the year, significant changes to

   the IT infrastructure were finalized, including completing transition to an off-site data center and

   strengthening the infrastructure security by implementing a two-factor authentication process.

   The office utilized by the Receivership staff was relocated at the end of the first quarter of 2021,

   with the footprint and rental cost significantly reduced. The Receiver has obtained flexible

   termination provisions in the Receivership’s current office and is able to vacate the premises and

   terminate the lease when the space is no longer needed or the Receivership winds up.

             During the Application Period, the Receivership staff and retained professionals

   expended significant effort planning the next phase of the IT footprint and spend reduction,
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   including transitioning to a 100% cloud-based solution. The Receivership staff and retained

   professionals completed the evaluation of the Receivership infrastructure and data assets and

   secured a favorable contract with a cloud service provider for the cloud-based transition and

   infrastructure hosting. As of the date of this Application, the implementation of the transition to

   the cloud-based infrastructure is essentially completed. The Receiver’s focus in this process

   remains on ensuring that appropriate systems are in place to efficiently support the

   Receivership’s ongoing operations through the wind-down and to preserve information that may

   be relevant to ongoing litigation.

             The Receivership continued to facilitate discovery, with 297 parties accessing the

   database, which contains 17.5 million documents, through March 31, 2022, and provide financial

   and tax administration including preparing numerous Receivership Entity tax returns.

             B.        The Receiver continues to manage the Receivership Entity and
                       recommends that the Receivership continue for the benefit of
                       investors and creditors.

             It remains the Receiver’s recommendation that the Receivership be continued. A number

   of the conditions under which the Receivership was imposed still exist. While we are in the

   homestretch, several crucial steps remain before the Receiver can reasonably seek an order

   terminating the Receivership. The Receiver must finish monetizing the remaining assets in a

   manner and on a timeline consistent with reasonably maximizing the value to stakeholders. The

   Receiver also must (i) complete the claims processes, (ii) complete necessary litigation, (iii)

   manage any remaining distributions, and (iv) wind down the estate.

             Although the consumer loan portfolios have been immensely reduced, the remaining

   loans owned by the Receivership require management until they are monetized or otherwise

   resolved. The Receiver and his team fill the management gap left after the termination of the
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   Individual Defendants and the departures of other management and staff (more than 95% of pre-

   Receivership employees are no longer with the companies comprising the Receivership Entity).

   Absent that day-to-day, hands-on management, risks would significantly increase and the

   Receivership Entity’s, and, ultimately, the investors’ value would be diminished. .

             Feedback from Commission staff and Aequitas investors regarding our progress thus far

   has been positive. The Receiver is very mindful of the priorities to proceed both expeditiously

   and economically, to make interim distributions whenever possible, and conclude this

   Receivership in an equitable fashion as soon as practicable. The Receiver believes he has the

   constituent’s support and encouragement to continue his efforts, and that they also support the

   continuation of the Receivership.

             C.        The following qualified professional service firms have been engaged
                       by the Receiver to aid in the discharge of his duties and
                       responsibilities to the Receivership Entity.

             On March 16, 2016, pursuant to the Interim Order, the Receiver engaged FTI Consulting,

   Inc. (“FTI”), as well as the law firms of Pepper Hamilton LLP (“Pepper”), Schwabe, Williamson

   & Wyatt PC (“Schwabe”) and Pachulski Stang Ziehl & Jones LLP (“Pachulski”) on an interim

   basis. On April 14, 2016, pursuant to the Final Receivership Order, the Receiver engaged FTI,

   Pepper, Schwabe and Pachulski on behalf of the Receivership Entity.

             On July 18, 2016, pursuant to the Order Granting Receiver’s Application To Employ

   Counsel, the Receiver employed the Law Offices of Stanley H. Shure (“Shure”), Akin Gump

   Strauss Hauer & Feld LLP (“Akin”), Morrison & Foerster LLP (“MoFo”) and Ater Wynne LLP

   (“Ater”) nunc pro tunc to March 10, 2016.

             On May 3, 2018, pursuant to the Order Granting Receiver’s Application to Employ

   Counsel, the Receiver employed Snell & Wilmer LLP (“Snell & Wilmer”) in order to retain
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   attorney, Ivan B. Knauer, who relocated from Pepper Hamilton to Snell & Wilmer.

             On June 10, 2019, pursuant to the Order Granting Receiver’s Application to Employ

   Counsel, the Receiver employed Parsons, Farnell & Grein, LLP (“Parsons Farnell) as local

   insurance counsel for the Receiver.

                       1.        FTI Consulting - Receiver, Financial Advisor and On-Site
                                 Management

             The Receiver is employed as a Senior Managing Director of FTI, which bills and collects

   for the Receiver’s time and expenses. To support the Receivership, the Receiver has retained FTI

   and has access to FTI professionals. FTI is serving as financial advisor to the Receiver and

   providing on-site and remote (given the current restraints imposed by the Covid-19 pandemic)

   management supervision over the operations of the Receivership Entity. Additionally, FTI has

   been instrumental in preparing assets for market, running certain sale processes, data and

   information consolidation, investor account data verification, coordinating and overseeing the

   forensic accounting, implementation of the national Corinthian Colleges student note receivable

   settlement with the CFPB and fourteen state Attorneys General, planning and implementation of

   the claims process, distribution plan development and implementation, and the wind down of the

   estate.

                       2.        Pepper Hamilton - Securities and Exchange Commission
                                 Counsel

             Pepper was retained by the Receiver in connection with SEC-related matters, including

   the SEC Complaint and discovery promulgated thereunder. Pepper has also acted as a point of

   contact for the Receiver with the Consumer Financial Protection Bureau (the “CFPB”) and

   certain other governmental agencies. Pepper has also assisted the Receiver with certain

   transactional work.

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                       3.        Snell & Wilmer - Securities and Exchange Commission
                                 Counsel

             Following the move of attorney Ivan Knauer from Pepper to Snell & Wilmer around May

   1, 2018, Snell & Wilmer represented the Receiver in connection with SEC-related matters,

   including the SEC Complaint and discovery promulgated thereunder. Snell & Wilmer also

   represented the Receiver regarding other regulatory inquiries and acted as a point of contact for

   the Receiver with the state Attorneys General, Consumer Financial Protection Bureau (the

   “CFPB”) and certain other governmental agencies. Counsel was diligently ensuring there was no

   duplication in work performed by Pepper and Snell & Wilmer.

                       4.        Schwabe, Williamson & Wyatt – General Counsel

             As general counsel to the Receiver, Schwabe provides general outside counsel advice, as

   well as the majority of transactional and litigation support for all matters other than the SEC

   action. As periodically requested by the Receiver and as required of local counsel, Schwabe

   assists in the SEC enforcement action. Schwabe also communicates with the Commission Staff

   regarding operations, asset sales and other issues related to the administration of the

   Receivership.

                       5.        Pachulski Stang Ziehl & Jones – Bankruptcy Counsel

             Pachulski has been retained to provide advice involving bankruptcy related matters, if

   needed. Pachulski also advised the Receiver at outset of the case on various receivership set up

   and administration matters and performed lien perfection analyses.

                       6.        Stanley H. Shure – Insurance Counsel

             The Law Offices of Stanley H. Shure was retained to provide counsel on all insurance

   coverage issues pertaining to the Receivership Entity, including but not limited to: (a) reviewing


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   and analyzing the Receivership Entity’s liability insurance policies with respect to the claims

   made against it, (b) providing counsel in the event of insurance coverage disputes with the

   Receivership Entity’s insurers, (c) evaluating the “Bankers Bond” policy for scope of coverage

   and whether the Receivership Entity holds any claims under the policy, and (d) analyzing and

   providing counsel with respect to claims, if any, that the Receivership Entity may have against

   former directors and officers of the Receivership Entity.

                       7.        Morrison & Foerster – Consumer Financial Protection Bureau

             Before the Commission filed suit, MoFo was counsel for three entities within the

   Receivership Entity: Aequitas Capital Management, Inc., Aequitas Commercial Finance, LLC,

   and Campus Student Funding, LLC on two matters. Specifically, MoFo represented those three

   entities with respect to (a) the Corinthian Colleges’ bankruptcy case, and (b) an investigation

   initiated by the CFPB and certain state attorneys general relating to Corinthian-related student

   loans owned by Campus Student Funding (the “CFPB Matter”). The Receiver has retained MoFo

   with respect to ongoing representation in the CFPB Matter only and assistance with various

   consumer finance matters.

                       8.        Akin Gump Strauss Hauer & Feld – American Student Financial
                                 Group, Inc.

             Prior to entry of the Interim Order, Akin was counsel to certain entities within the

   Receivership Entity in two matters. First, Akin represented Aequitas Capital Management, Inc.

   in the matter of American Student Financial Group, Inc., et al. v. Aequitas Capital Management,

   Inc., Case No. 12-cv-02445-CAB-JMA (S.D. Cal.). Akin also represented Robert Jesenik and

   Andrew MacRitchie in that action but claims against those individuals were dismissed on

   summary judgment. Second, Akin has represented the following companies in the Receivership


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   Entity, in the matter of American Student Financial Group, Inc. v. Campus Student Funding,

   LLC, et al., Case No. 37-2013-00028562-CU-IP-CTL (San Diego Superior Court): Aequitas

   Commercial Finance, LLC; Aequitas Investment Management, LLC; Aequitas Income

   Protection Fund, LLC; Aequitas Income Opportunity Fund, LLC; and Aequitas Capital

   Management, Inc. Akin has also represented Campus Student Funding, LLC, f/k/a ASFG, LLC,

   Thomas Szabo, and Thomas Reiter in the same matter.

                       9.        Parsons Farnell & Grein, LLP-Local Counsel for Insurance
                                 matters

             Parsons Farnell is special co-counsel serving as local insurance recovery counsel for the

   Receiver in connection with claims implicating directors and officers insurance coverage issued

   to one or more of the entities comprising the Receivership Entity.

                       10.       Ater Wynne – Conflicts Counsel regarding Wells Fargo Bank,
                                 NA

             Ater was retained to represent the Receiver with respect to matters adverse to Wells

   Fargo Bank and other matters where the Receiver’s retained counsel had a conflict of interest.

   The Wells Fargo liability has been retired. Ater withdrew as counsel to the Receiver effective

   April 4, 2017 [Dkt. 396].

             D.        The Receiver and the professional firms have already returned
                       millions of dollars to the Receivership Entity.

             Following the significant distributions made in 2020 and 2021 and collections resulting

   from a number of settlements, the Receiver had cash balances of approximately $25 million as of

   March 31, 2022 for the entities included in the Receivership Entity. The Standardized Fund

   Accounting Report, which is included in the Receiver’s March 2022 Report, provides a detailed

   statement of cash receipts and disbursements through March 31, 2022. The following are brief


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   summaries of some of the ongoing asset monetization and sales efforts undertaken or impacted

   during the Twenty-Fourth Application Period.

                       1.        Campus Student Funding

             On August 17, 2017, the Court approved Receiver entering into the nationwide

   settlement with Consumer Financial Protection Bureau (CFPB) and thirteen state

   Attorneys General in connection with the Corinthian Colleges private student loan

   portfolio owned by the Receivership (the “Settlement”) [Dkt. 495]. Subsequently, on

   June 12, 2018, the Court approved the Receiver’s Motion for Approval of Proposed

   Settlement with Massachusetts Attorney General. [Dkt. 620]. The Massachusetts

   Settlement, implemented in the form of an Assurance of Discontinuance, became

   effective on June 21, 2018.

             Following the very significant effort expended by the Receivership on the

   implementation of the Settlement at the end of 2017 and in the beginning of 2018, which

   resulted in processing relief in connection with approximately 47,000 loans, the Receiver

   continued to implement the remaining obligations under the Settlement in 2018.

   Subsequently, the Receivership Staff and retained professionals continued to work with

   the regulators to address any questions that came up in the course of the operations of the

   portfolio.

             Additionally, the Receivership continued to maintain a detailed informational

   website for the borrowers in connection with the Settlement. Most of the borrower

   inquiries are being addressed by the servicer but the Receivership also addressed 1,920

   borrower inquiries directly (through March 31, 2022). In addition to addressing direct

   borrower inquiries, the Receivership staff and retained professionals monitor, review, and
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   respond to borrower complaints that are submitted through the CFPB on-line consumer

   complaint portal or through other venues. All these activities are instrumental in

   mitigating the Settlement implementation risk to the Receivership, reducing the number

   of potential borrower complaints, and stabilizing the portfolio.

             To handle potential borrower inquiries related to the 1099 tax forms, the

   Receivership has set up an outsourced call center that handled 2,446 calls, including

   1,077 calls answered by agents, through March 31, 2022 (the rest of the callers chose to

   only listen to a detailed recorded message). The Receivership staff and retained

   professionals worked closely with the call center vendor to review call logs and monitor

   the performance to make sure that the borrowers receive appropriate information.

               In the reporting period, the Receivership team continued to work closely with the loan

   servicer and help address borrower inquiries. The Receiver is continuing to monitor the portfolio

   performance and evaluate the next steps in connection with the monetization and the wind down

   of the remaining portfolio.

               2.      MotoLease Financial (MLF)

             MLF holds subprime consumer leases for motorcycle and other recreational

   vehicles. Through March 31, 2022, the Receiver has collected approximately $16.1

   million on account of the leases owned at the beginning of the Receivership. During this

   Application Period, the Receivership staff and retained professionals expended

   significant effort planning and implementing the wind down of the portfolio, including

   exploring opportunities to monetize the remnant assets. As part of the portfolio wind

   down process, on June 21, 2022, the Receiver filed a Motion to Abandon All Right, Title,

   And Interest in Certain Tangible Personal Property Of Motolease Financial, LLC [Dkt.
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   985], which motion is currently pending in front of the Court.

               3.      Portland Seed Fund (PSF)

             Portland Seed Fund is an investment in a local venture capital fund providing

   early-stage capital to Oregon based start-ups. Proceeds from two recent monetization's of

   investments by the Fund were distributed to PSF members, including the Receivership, in

   June and August of 2021. The cumulative distributions from PSF are now greater than

   the contributions, and additional distributions are expected in the second and third

   quarters of 2022.

               The Receiver and his professionals have continued exploring opportunities to monetize

   the remaining PSF interest in the context of the PSF anticipated future wind down. At this time,

   the Receiver intends to hold this asset until further notice.

             E.        Ongoing Litigation

             As addressed in prior reports and reflected in the previously disclosed settlements, the

   Receiver continues his frequent engagement in negotiations with a number of parties to recover

   Receivership assets and/or to resolve substantial, disputed claims. Consistent with the Court’s

   prior and any subsequent orders, to the extent negotiated resolutions are not reached with any of

   the parties, the Receiver will file additional actions.

               1.      Newman

             The Court granted summary judgment in favor of the Receiver on claims for breach of a

   promissory note. Together with attorney fees, the judgment against the defendants, Robert

   Jesenik’s relatives, totaled $462,754.68 plus interest. The Receiver necessarily initiated judgment

   debtor proceedings. In light of the defendants’ financial circumstances, the Receiver negotiated a

   compromise resolution. The Court recently approved the settlement [Dkt. No. 974] and the
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   defendants paid $334,000 to the Receivership Estate.

               2.      Net Winners

             With the benefit of the Court’s determination that the consolidated Aequitas enterprise

   was operated as a Ponzi scheme at least as early as July 1, 2014 [Dkt. 813], the Receiver and his

   team gathered and analyzed data to identify “net winners” (investors who received funds in

   excess of their initial investments prior to initiation of the Receivership) and determine the

   amount of their net winnings. The Receiver then provided individual net winners a summary of

   their account activity as well as a pre-litigation offer of settlement. The majority of the net

   winners accepted the Receiver’s offer and made the corresponding repayment to the

   Receivership Estate. Those net winner settlement agreements were addressed in the Receiver’s

   First, Second, and Third Motions to Approve Settlements.

             In accordance with the prior orders of the Court, on June 28, 2021, the Receiver filed suit

   against all net winners who did not agree to return their net winnings to the Receivership Estate

   (“Net Winner Defendants”), seeking to recover approximately $2,000,000 plus interest. Since

   filing suit, the Receiver has resolved the Receivership Entity’s claims against 38 of the Net

   Winner Defendants. On November 23, 2021, and on April 12, 2022 (during this Application

   Period), the Court entered orders granting the Receiver’s Fourth and Fifth Motion to Approve

   Settlements, including, respectively, those with 23 and 11 of the Net Winner Defendants.

             The table below summarizes the status of the net winner recoveries as of June 30, 2022.

    Net Winner Settlement Summary (as of 06/30/22) # of Parties   Amount
    Cash Received from Net Winners                     104      $3,238,428
      Additional Installment Payments Outstanding                $540,910
    Distribution Offsets                                9        $490,490
    Total                                              113      $4,269,827


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               The Receiver issued a final settlement offer to the remaining Net Winner Defendants

   and will soon file a motion for entry of summary judgment against the very few who did not

   accept the offer.

               3.      Lawsuits Against Recipients of Commissions, Consulting Fees and Advisory

   Fees

             On July 9, 2021, the Receiver filed suit against eleven different parties who received

   transfers from Aequitas during the Ponzi Period that were nominally referred to as commissions,

   consulting fees or advisory fees, seeking to recover approximately $1,210,000 plus interest. The

   Receiver has negotiated settlement agreements with nine of the eleven parties, obligating those

   parties to collectively return $786,000 to the Receivership Estate.

             4.        Other

             The Receiver is in the midst of settlement negotiations with additional parties, the

   majority of which are subject to claims for breach of contract and fraudulent conveyance. As

   indicated above, in the event the claims cannot be resolved in the best interests of the

   Receivership Estate, the Receiver will commence litigation in accordance with the prior orders of

   this Court.

             F.        The Claims Process

               The Receiver undertook an extensive claim noticing process that included

   notices by publication in 15 major newspaper, issuance and dissemination of a press

   release, and mail and email noticing of over 6,982 parties, including at least 4,830 parties

   who received a Notice of Receiver’s Initial Determination.

             In total, the following number of Notices were sent out:
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             Investor with NOD                                                            2,060

             Other Pre-Receivership Creditor / Vendor with                                2,040

             NOD

             Employee with NOD                                                                 84

             Administrative Claimant with NOD                                                646

             Non-NOD notices (not counted above)                                          2,152

                                 Total Notices                                            6,982



                       1.        Additional Information Sharing

             Consistent with the requirement of the Claims Procedures Order, the Receiver set

   up a dedicated data sharing site that allowed him to provide copies of notices to the legal

   counsel representing various potential claimants. In some instances, copies of the notices

   were email to legal counsel directly.

             While not required by the Claims Procedures Order, in the spirit of cooperation, the

   Receiver elected to also share copies of the notices received by investors with their Registered

   Investment Advisors (“RIA”) upon receipt of a confirmation of investor’s consent to the

   Receiver’s sharing of such information.

                       2.        Responding to Claims Process Inquiries

             Following the mailing of the claims process notices, the Receiver and his staff received

   numerous follow up inquiries from various parties, including potential claimants and their

   representatives. Through March 31, 2022, over 2,364 inquiries in connection with the claims


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   process, distributions, and related tax reporting were addressed directly by the Receivership staff

   and professionals. The Receivership team is continuing to field and respond to inquiries as they

   are received.

                       3.        Claims Processing and Analysis

             The Receiver’s professionals and staff have performed the review of the filed

   claims and have submitted three motions to the Court to approve classification and allow

   distributions on certain claims. Through the date of the March 2022 Report, the Court has

   fully or partially adjudicated 4,798 claims. Since the dated of the prior status report and

   during this Application Period, the Receiver has filed four motions to disallow claims and

   one motion to settle a claim, which motions were subsequently approved by the Court.

   Two claims were voluntarily withdrawn by claimants following discussions with

   Receivership professionals.

             As discussed earlier, during this Application Period, the Receiver and

   Receivership professionals worked on the resolution of the claims filed by American

   Student Financial Group, Inc. (“ASFG”) and TRD Consulting, LLC (“TRD”). Prior to the

   filing of the Receivership, ASFG (and its related entity, TRD) filed two lawsuits against

   Aequitas Entities in California. By stipulation, venue was transferred to the Receivership

   Court. Funds that Aequitas had deposited into the California Court registry were also

   transferred to the Receiver and placed in a segregated account. ASFG and TRD jointly

   filed a claim in excess of $27 million in the Receivership and asserted an interest in the

   segregated funds, which the Receiver disputes. Subsequent to filing its proof of claim,

   ASFG changed its name and filed a bankruptcy in Florida. The Receivership was not

   given notice of ASFG’s bankruptcy filing and only subsequently came to learn of the
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   bankruptcy. ASFG’s bankruptcy necessitated extensive analysis, briefing and the filing of

   a motion in the Receivership proceeding to deal with ASFG’s previously unknown

   bankruptcy (the “Bankruptcy Related Motion”). Subsequent to the filing of the

   Bankruptcy Related Motion, the Receiver and ASFG’s Liquidating Trustee conducted

   extensive negotiations, resulting in a compromise and the recent filing of a motion to

   approve the compromise and disbursement of the segregated funds (the” Compromise

   Motion”). TRD objected to the Compromise Motion. The Compromise Motion is now

   under consideration by the Receivership Court.

             Through March 31, 2022:

                      4,857 Notices of Receiver's Initial Determination ("NOD") were mailed or

   emailed out by the Receivership (including 4,830 original NODs and 27 replacement

   NODs).

                      338 individual claim submissions were received by Epiq (the claims

   agent) including:

                       o         33 duplicates

                       o         3 claims representing amendments of previously filed claims

                       o         41 late-filed claims

                      3 claims that were submitted prior to the Bar Date Order and the

   establishment of the claims process.

             Of the 302 non-duplicative individual claims submissions received above, at least

   15 non-duplicative claims did not list any appropriate Aequitas Receivership entities.

   Additionally, 68 of the non-duplicative claims were filed against multiple Aequitas

   Receivership entities. As detailed in the Report of Cash Receipts and Disbursements,
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   attached as Exhibit B to the March 2022 Report, for the purpose of consolidated

   reporting, these claims are counted only once. On the individual entity reports, each

   entity determined on a preliminary basis as being named in the claim form has the claim

   included in its count.

             Based on the initial review by the Receivership staff, the following is a summary

   of non-investor claims filed (or allowed NODs if no claim filed). The Receivership staff

   is continuing to review all submissions to determine the validity of claims. Nothing in the

   summaries should be considered an acceptance or allowance of any claim.



                                   Non-Investor Claims                    Count
                                   NODs Mailed                              2,770
                                   Unique claims filed                          89

                                   Less: Claims filed and NOD sent            (20)
                                   Total Non-Investor Claims                2,839


    Non-Investor Claim Type                                  Count          Amount as Filed or Allowed
    Non-Officer Former Employees >$12,850                            41                     1,438,316
    Non-Officer Former Employees
                                                                     46
    <=$12,850                                                                                     384,668
    CarePayment Refund Checks                                   2,430                             183,156
    Campus Student Funding Refund Checks                          189                              61,614
    Taxes                                                          43                             510,261
    Other Claims >$20,000                                          15                          88,704,271
    Other Claims <=$20,000                                         75                             248,897
    Total                                                       2,839            $             91,531,183




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                                               Top Ten Non-Investor Claims

                Claimant Name                                                Amount
                Deloitte & Touche LLP7                           $               50,000,000
                ASFG Inc & TRD Consulting LLC                                    27,381,257
                Norman Gary Price/Strategic Capital Group                         5,638,129
                CBL Insurance Ltd                                                 1,994,000
                DELL Financial Services LLC                                       1,124,865
                Olaf Janke                                                          897,360
                Akin Gump Strauss Hauer & Feld LLP                                  646,127
                Brian K Rice                                                        438,837
                Salesforce.com Inc.                                                 346,478
                JCPR Inc D/B/A J Connelly                                            65,998
                Total Top Ten Trade Claims                       $               88,533,050


             G.        The Receiver and the professional service firms have consistently
                       strived to minimize costs.

             As addressed above, in accordance with the request of the Commission, the Receiver and

   all of the professional firms have discounted their standard hourly rates. The Receiver is

   consistently mindful of the professional expenses and manages the work in the most cost-

   effective manner possible. He strives to avoid duplication of effort by the engaged professionals.

                       1.        Day-to-Day Management

             With the termination of Aequitas management, the Receiver has needed to supervise the

   day-to-day operations of the various Receivership Entities. In addition to the daily management

   duties, the Receiver has focused on several key areas of his mandate, including marshaling,

   preserving and monetizing all assets for the benefit of the investors, as well as managing the

   claims process and distributions on Allowed Claims.




   7
     On January 24, 2020, the Receiver executed a settlement agreement with Deloitte regarding
   their contribution claim.
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             The Receiver and his professional team have been working on various aspects of the

   gradual operational wind down, despite the challenges presented by the COVID-19 pandemic.

   The significant changes made to the IT infrastructure during this Application Period, including

   transitioning to an off-site data center and scaling down certain service agreements, have allowed

   to reduce certain IT costs. The office utilized by the Receivership staff was also relocated at the

   end of the first quarter of 2021, with the footprint and rent significantly reduced, resulting in

   annualized rent savings of approximately $202,000, and the Receiver allowed to terminate the

   new lease upon notice to the landlord. As part of the relocation, the Receivership has disposed of

   the remaining surplus office furniture and various equipment. The Receiver is currently

   finalizing further infrastructure reduction, having transitioned to a 100% cloud-based solution as

   discussed earlier. Such transition is expected to provide additional cost savings, reduction in

   infrastructure management requirements, and more flexibility going forward, while allowing the

   Receivership to continue its necessary operations during the wind-down period.

                       2.        Bank Accounts

             As discussed in the Initial Report, the Receiver has instituted an integrated on-line

   platform that facilitates banking, processing of future distributions, and cash reporting for

   receivership cases. As assets are being monetized, the Receiver has been closing bank accounts

   that are no longer necessary. Following the approval of the QSF by the Court at the end of 2019,

   the Receiver has established separate QSF bank accounts and has consolidated the majority of

   the funds controlled by the Receiver in such account(s). In 2020 and 2021, the Receiver closed

   39 of the legacy Receivership bank accounts that were no longer needed for the ongoing

   operations of the Receivership and the QSF. This helped streamline the Receivership cash

   management operations and facilitate the wind down. As of March 31, 2022, the Receiver
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   maintained 18 bank accounts, consisting of 15 that belong to the Receivership Entity, including

   six attributed to the QSF, and three accounts controlled by the Receiver that are owned by related

   entities. The Receiver continues to gradually close bank accounts that will no longer be needed

   for the Receivership operations.

             The Receiver intends to continue leveraging these existing relationships and systems for

   the implementation of future distribution(s) to the extent feasible.

             Cash basis reports, including information for this Application Period and case to date, are

   attached as Exhibit B to the March 2022 Report.

                       3.        Staffing

                                 a.        Employee Headcount

             The Receiver continues to maintain the minimum staff necessary for the Receivership

   and enterprise to operate efficiently and effectively. As of March 31, 2022, the Receivership

   Entity had five full-time employees (a reduction by one compared with the prior reporting

   period) and one part-time employee. The Receiver’s employee retention program provides for at

   least six-weeks’ notice to employees whose services are anticipated to no longer be required by

   the Receivership.

                                 b.        Contractors

             In response to earlier staff attrition in addition to the planned reductions, the Receiver

   necessarily backfilled key accounting and technology positions with local independent

   contractors (not affiliated with FTI). As of March 31, 2022, the Receivership employed two on-

   call IT contractors, one portfolio management contractor, and one administrative / investor

   relations contractor.



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                       4.        Tax Matters

             In the ordinary course of business, the Receivership has many reporting and tax

   preparation responsibilities to investors and taxing authorities.

                       a.        Tax Preparer

             Since the inception of the Receivership, the Receiver retained a tax specialist to assist

   legacy Aequitas staff in the preparation of tax and information returns, and to provide tax-

   consulting services on an as-needed basis at the request of the Receiver. During the Application

   Period, Receivership staff and professionals did extensive work to address 2021 Receivership tax

   reporting and tax inquiries. The staff and professionals have also focused on planning for

   potential tax requirements and obligations on closure of the Receivership.

                       b.        Qualified Settlement Fund and Receivership Entities 2021 Taxation

             As further described in section XI of the March 2022 Report, on motion and by order of

   the Court, substantial assets of the Receivership Entities were transferred to the Aequitas

   Qualified Settlement Fund Irrevocable Trust (“QSF”) along with the obligation to make

   distributions under the Court-approved Distribution Plan.

             2021 Federal and state QSF tax returns were extended by their due date. The returns are

   being prepared and will be filed as soon as they are complete.

             Since the establishment of the QSF, final federal and state tax returns have been filed for

   many of the Receivership Entities. 2021 federal and state returns for the remaining Receivership

   Entities were extended by their due date and will be filed as soon as they are complete. It is

   expected that the QSF will be the final tax filing entity for the Receivership allowing for the

   wind down and final tax filings for all other entities not previously completed.



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                       c.        Investor Fund Form K-1s

             Members of Aequitas Holdings LLC and Aequitas Management LLC will be provided

   2021 form K-1s when available.

                       d.        Distribution Information Reporting and Taxation

             The Receiver finalized the implementation of the third interim distribution in Q4 2021.

   All information reporting that was required in connection with distributions implemented in 2021

   was completed in late January 2022, during this Application Period.

                       5.        Leveraging the professional firms’ resources

             FTI continues to leverage its access to various resources and services to provide

   information at no additional charge to the Receivership. As a result, the Receivership Entity has

   been able to eliminate contracts with a number of corresponding providers. Additionally, FTI

   provides as-needed tele-conferencing and web-conferencing capabilities to the Receivership

   Entity at no charge.

             Schwabe has in the past provided meeting space and infrastructure at no charge to the

   Receivership Entity, which allowed the Receiver to minimize costs associated with in-person

   meetings.

                       6.        Discounted Travel Time

             The Receiver, FTI and the majority of legal counsel only charge 50 percent of actual non-

   working travel time. Schwabe does not charge for travel time or travel expenses related to travel

   to Portland, Oregon. As a result of the Receivership staff and all professionals working remotely

   during the COVID-19 pandemic, no travel time was incurred during this Application Period.

                       7.        Out-of-Town Meals and Expenses

             The Receiver carefully monitors the expenses incurred by his professionals. In

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   furtherance of this effort, the Receiver has imposed a per diem limit on meal expenses and no

   costs incurred in excess thereof are charged to the Receivership. No out-of-town meals and

   expenses were incurred during this Application Period.

         III. AUTHORITY SUPPORTING REQUEST FOR APPROVAL OF FEES AND
         EXPENSES INCURRED FROM JANUARY 1, 2022 THROUGH MARCH 31, 2022

             The Order Appointing Receiver provides that “[t]he Receiver and Retained Personnel are

   entitled to reasonable compensation and expense Reimbursement from the Receivership

   Estates….”8 Applications for compensation and expense reimbursement are on an interim basis,

   subject to final review at the close of the Receivership.9 Allowed fees are subject to a twenty

   percent (20%) holdback pending final review and closing of the Receivership. Allowed expenses

   are not subject to a holdback.

             The Receiver requests that the Court approve the fees and expenses incurred by the

   Receiver and his retained professionals for the period from January 1, 2022 through March 31,

   2022.

             A.        This is the Twenty-Fourth Interim Fee Application and the Court has
                       previously approved the prior Eighteen Interim Fee Applications

             This is the Twenty-Fourth Interim Fee Application of the Receiver and his retained

   professionals. The initial Interim Fee Application was filed on September 22, 2016 [Dkt. 251].

   The Court approved the fees and expenses requested in the Interim Fee Application on October

   21, 2016 [Dkt. 273]. The Second Interim Fee Application was filed on December 12, 2016 [Dkt.

   315]. The Court approved the fees and expenses requested in the Second Fee Application on



   8
       Dkt. 156, ¶ 45.
   9
       Dkt. 156, ¶ 47.
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   February 22, 2017 [Dkt. 370]. The Third Interim Fee Application was filed on April 4, 2017

   [Dkt. 393]. The Court approved the fees and expenses requested in the Third Fee Application on

   April 20, 2017 [Dkt. 416]. The Fourth Interim Fee Application was filed on July 14, 2017 [Dkt.

   475]. The Court approved the fees and expenses requested in the Fourth Fee Application on July

   17, 2017 [Dkt. 478]. The Fifth Interim Fee Application was filed on October 11, 2017 [Dkt.

   544]. The Court approved the fees and expenses requested in the Fifth Fee Application on

   October 12, 2017 [Dkt. 548]. The Sixth Interim Fee Application was filed on December 12, 2017

   [Dkt. 567]. The Court approved the fees and expenses requested in the Sixth Fee Application on

   December 12, 2017 [Dkt. 570]. The Seventh Interim Fee Application was filed on March 16,

   2018 [Dkt. 596]. The Court approved the fees and expenses requested in the Seventh Fee

   Application on March 20, 2018 [Dkt. 599]. The Eighth Interim Fee Application was filed on

   June 26, 2018 [Dkt. 630]. The Court approved the fees and expenses requested in the Eighth Fee

   Application on June 26, 2018 [Dkt. 633]. The Ninth Interim Fee Application was filed on

   September 17, 2018 [Dkt. 654]. The Court approved the fees and expenses requested in the

   Ninth Fee Application on September 18, 2018 [Dkt. 657]. The Tenth Interim Fee Application

   was filed on December 7, 2018 [Dkt. 665]. The Court approved the fees and expenses requested

   in the Tenth Fee Application on December 10, 2018 [Dkt. 668]. The Eleventh Interim Fee

   Application was filed on March 21, 2019 [Dkt. 677]. The Court approved the fees and expenses

   requested in the Eleventh Fee Application on March 21, 2019 [Dkt. 680]. The Twelfth Interim

   Fee Application was filed on June 27, 2019 [Dkt. 716]. The Court approved the fees and

   expenses requested in the Twelfth Fee Application on July 1, 2019 [Dkt. 719]. The Thirteenth

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   Interim Fee Application was filed on June 27, 2019 [Dkt. 771]. The Court approved the fees and

   expenses requested in the Thirteenth Fee Application on July 1, 2019 [Dkt. 774]. The Fourteenth

   Interim Fee Application was filed on December 27, 2019 [Dkt. 782]. The Court approved the

   fees and expenses requested in the Fourteenth Fee Application on January 1, 2020 [Dkt. 788].

   The Fifteenth Interim Fee Application was filed on March 31, 2020 [Dkt. 814]. The Court

   approved the fees and expenses requested in the Fifteenth Fee Application on April 1, 2020 [Dkt.

   817]. The Sixteenth Interim Fee Application was filed on June 19, 2020 [Dkt. 839]. The Court

   approved the fees and expenses requested in the Sixteenth Fee Application on June 19, 2020

   [Dkt. 842]. The Seventeenth Interim Fee Application was filed on September 11, 2020 [Dkt.

   844]. The Court approved the fees and expenses requested in the Seventeenth Fee Application on

   September 11, 2020 [Dkt. 847]. The Eighteenth Interim Fee Application was filed on December

   17, 2020 [Dkt. 868]. The Court approved the fees and expenses requested in the Eighteenth Fee

   Application on January 4, 2021 [Dkt. 871]. The Nineteenth Interim Fee Application was filed on

   March 30, 2021 [Dkt. 878]. The Court approved the fees and expenses requested in the

   Nineteenth Fee Application on April 21, 2021 [Dkt. 884]. The Twentieth Interim Fee

   Application was filed on July 12, 2021 [Dkt. 892]. The Court approved the fees and expenses

   requested in the Twentieth Fee Application on July 27, 2021 [Dkt. 899]. The Twenty-First

   Interim Fee Application was filed on September 22, 2021 [Dkt. 908]. The Court approved the

   fees and expenses requested in the Twenty-First Fee Application on October 7, 2021 [Dkt. 911].

   The Twenty-Second Interim Fee Application was filed on December 20, 2021 [Dkt. 917]. The

   Court approved the fees and expenses requested in the Twenty-Second Fee Application on

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   January 7, 2022 [Dkt. 921]. The Twenty-Third Interim Fee Application was filed on March 23,

   2022 [Dkt. 958]. The Court approved the fees and expenses requested in the Twenty-Third Fee

   Application on April 4, 2022 [Dkt. 975]. The following is a summary of the fees and expenses

   requested and approved from the prior Interim Fee Applications, the amounts allowed, the

   amounts paid, and identification of the twenty percent (20%) holdback for fees (which remain

   unpaid as required by the Billing Instructions):

    Aequitas Receivership
    Professional Fees & Expenses by Entity (through December 31, 2021)

                                         Previous            Previous       Total Previous    Holdback
                 Entity                   Fees              Expenses       Fees & Expenses    Amounts       Total Paid Amounts
    Receiver                               2,452,759              45,172          2,497,931       490,552            2,007,379
    FTI Consulting                        18,852,562             494,849        19,347,412      3,770,512           15,576,899
    Pepper Hamilton                        2,472,630             282,614          2,755,244       494,526            2,260,718
    Schwabe, Williamson & Wyatt           10,390,672              68,833        10,459,505      2,078,134            8,381,371
    Morrison Foerster                      1,010,847               5,843          1,016,690       202,169              814,521
    Law Office of Stanley H. Shure         1,514,882               9,588          1,524,470       302,976            1,221,493
    Snell & Wilmer                           540,808              10,645            551,453       108,162              443,291
    Parsons Farnell & Grein                  539,151              18,983            558,134       107,830              450,304
    Pachulski Stang Ziehl & Jones              39,984                471             40,455         7,997               32,458
    Akin Gump                                  60,259                133             60,392        12,052               48,340
    Ater Wynne                                 10,356                 -              10,356         2,071                8,285
    Total:                               37,884,909             937,132        38,822,041      7,576,982           31,245,059




              B.          The Court should approve as reasonable and necessary all of the fees
                          and expenses requested in this Twenty-Fourth Interim Fee
                          Application.

              In the Ninth Circuit, in a common fund case such as this Receivership proceeding, the

   Court has the “discretion to apply either the lodestar method or the percentage-of-the-fund

   method when calculating fees.”10 “Under either method, the Court must exercise its discretion to




   10
     Fischel v. Equitable Life Assurance Soc’y, 307 F.3d 997, 1006 (9th Cir 2002) (class action
   case creating a common fund).
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   achieve a ‘reasonable’ result.”11

              Because there is a strong presumption that the lodestar amount represents a reasonable

   fee, adjustments to the lodestar are the “exception rather than the rule.”12 Under the lodestar

   method, the Court multiplies a reasonable number of hours by a reasonable hourly rate.13 In the

   current Receivership, where neither the amount of the common fund nor the aggregate amount of

   allowed claims has been determined, the lodestar method rather than the percentage-of-fund

   method should be applied to this interim fee application.

              The amount of compensation to be awarded a court-appointed receiver is within the

   Court’s reasonable discretion.14 The Commission’s approval of an application should be given

   great weight.15

              Factors for consideration include the “time, labor and skill required, but not necessarily

   that actually expended, in the proper performance of the duties imposed by the court upon the

   receiver, the fair value of such time, labor and skill measured by conservative business standards,

   the degree of activity, integrity and dispatch with which the work is conducted and the result

   obtained.”16 The complexity and difficulty associated with the receivership are highly relevant




   11
     In re Galena Biopharma, Inc., Sec. Litig., No. 3:14-cv-00367-SI, 2016 U.S. Dist. LEXIS
   82693, at *15-16 (D. Or. June 24, 2016) (citing In re Bluetooth Headset Prods. Liab. Litig., 654
   F.3d 935, 942 (9th Cir. 2011)).
   12
     Stanger v. China Elec. Motor, Inc. 812 F.3d 734, 738 (9th Cir 2016) (internal citations
   omitted) (class action with common fund settlement).
   13
        Id.
   14
        SEC v. Byers, 590 F. Supp. 2d 637, 644 (S.D.N.Y. 2008), aff’d, 609 F.3d 87 (2d Cir. 2010).
   15
     Id. (quoting SEC v. Fifth Ave. Coach Lines, Inc., 364 F. Supp. 1220, 1222 (S.D.N.Y. 1973)
   (securities receivership).
   16
        United States v. Code Prod. Corp., 362 F.2d 669, 673 (3d Cir. 1966) (internal citation
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   factors in determining the reasonableness of professional fees.17 The benefits bestowed on the

   estate are a relevant consideration.18

             The degree of success achieved in solving legal and practical problems should be

   considered when calculating the fees awarded.19 Courts examine the credentials, experience,

   reputation, and other professional qualities required to carry out the court’s orders when

   assessing the reasonableness of the rates charged for services to a receivership.20

             The Court should consider the usual and customary fees charged and the evidence

   presented to support the application for fees.21 All of the factors considered in these cases weigh




   omitted).
   17
      See Fifth Ave. Coach Lines, 364 F. Supp. at 1220 (awarding interim fees and expenses to law
   firm for role in receivership and noting that it involved wide variety of complex legal matters
   requiring the time, competence, and diverse resources of a law firm of high caliber); SEC v.
   Mobley, No. 00 CV 1316 RCC, 2000 WL 1702024, at *2 (S.D.N.Y. Nov. 13, 2000) (finding that
   fees requested in early stages of receivership were not excessive where receiver was faced with
   deconstructing an “enormous” fraud of seven years in which defendant utilized over forty
   entities to funnel investors’ money throughout the world and there were few, if any, verifiable
   financial records).
   18
    See Fifth Ave. Coach Lines., 364 F. Supp. at 1222; Mobley, 2000 WL 1702024, at *2 (receiver
   marshaled assets quickly and efficiently).
   19
      See SEC v. W.L. Moody & Co., Bankers, 374 F. Supp. 465, 484-85 (S.D. Tex. 1974), aff’d, 519
   F.2d 1087 (5th Cir 1975) (attorney’s timely action prevented delay in payment to bank
   depositors); Fifth Ave. Coach Lines, 364 F. Supp. at 1222 (law firm’s services resulted in
   successful reorganization of company); SEC v. Tanner, No. 05–4057–RDR, 2007 WL 2013606,
   at *2 (D. Kan. May 22, 2007) (actions of receiver resulted in return of more money to investors
   than if defendant had continued in business).
   20
     See W.L. Moody & Co., 374 F. Supp. at 481 (holding that a court should give “considerable
   weight” to “a receiver’s abilities, as required by the tasks of the receivership”); SEC v. Aquacell
   Batteries Inc., No. 6:07–cv–608–Orl–22 DAB, 2008 WL 276026, at *4 (M.D. Fla. Jan. 31, 2008)
   (“The Receiver retained well qualified, experienced counsel and such representation does not
   come cheap.”).
   21
      See Fifth Ave. Coach Lines, Inc., 364 F. Supp. at 1222 (fees awarded in full based on law
   firm’s usual hourly rate and supported by meticulous records).
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   heavily in favor of approving the fees and expenses requested in the Twenty-Fourth Interim Fee

   Application.

             C.        The fees and expenses during this Twenty-Fourth Application Period
                       are reasonable and necessary in light of the complexity and difficulties
                       of this case.

             The Receiver requests approval of fees and expenses for the firms identified herein,

   which have provided the services summarized throughout this Motion, in the March 2022 Report

   and in each firm’s summary invoice.22 As noted, these firms agreed to substantial discounts of

   their customary fees, and the amounts requested reflect those discounts. The time spent, services

   performed, hourly rates charged, and expenses incurred were in the best interests of the

   Receivership Entity and were indeed essential for the Receiver to perform his Court-ordered

   duties.23 Each of these professional firms was selected because it possesses special expertise

   required to fulfill the Court’s orders. The following chart is a summary of the fees and expenses

   reasonably incurred in the service of the Receivership Entity from January 1, 2022 through

   March 31, 2022:




   22
        Greenspan Declaration, Exhibits A through D.
   23
        Greenspan Declaration, p. 3.
                                                                                  SCHWABE, WILLIAMSON & WYATT, P.C.
Page 39 - RECEIVER'S REQUEST FOR APPROVAL OF TWENTY-                                        Attorneys at Law
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    Aequitas Receivership
    Professional Fees & Expenses by Entity (from January 1 to March 31, 2022)

                       Entity                  Fees ($)          Percentage       Expenses ($)        Percentage           Total ($)        Percentage
    Receiver                                     15,510.00               3.0%                     -           0.0%            15,510.00             2.8%
    FTI Consulting                              189,707.00             36.2%                      -           0.0%          189,707.00            34.3%
                             [1]
    Pepper Hamilton                                       -              0.0%                   -             0.0%                    -              0.0%
    Schwabe, Williamson & Wyatt                 317,606.50              60.6%          28,071.23            100.0%          345,677.73              62.6%
                             (1)
    Morrison Foerster                                       -            0.0%                     -            0.0%                     -            0.0%
                                       (1)
    Law Office of Stanley H. Shure                          -            0.0%                     -            0.0%                     -            0.0%
                       (1)
    Snell & Wilmer                                          -            0.0%                     -            0.0%                     -            0.0%
    Parsons Farnell & Grein                        1,549.12              0.3%                     -            0.0%            1,549.12              0.3%
                                       [1]
    Pachulski Stang Ziehl & Jones                           -            0.0%                     -            0.0%                     -            0.0%
                 [1]
    Akin Gump                                               -            0.0%                     -            0.0%                     -            0.0%
                 [1]
    Ater Wynne                                           -               0.0%                  -               0.0%                  -               0.0%
    Total:                                     524,372.62               100%          28,071.23               100%         552,443.85               100%

    [1] Pepper Hamilton, Morrison Foerster, Law Office of Stanley H. Shure, Snell & Wilmer, Pachulski Stang Ziehl & Jones, Akin Gump, and Ater Wynne did
    not incur fees or expenses during the billing period.




                 D.                The fees and expenses requested are in line with those approved in
                                   other cases.

                 The fees associated with complex receivership cases are often substantial percentages of

   the total assets recovered.24 The size and scope of this equitable receivership are much greater

   than the size and scope of many of the receiverships in the reported cases cited in this

   Application. Courts have noted that compensation to equitable receivers is analogous to

   compensation to trustees in bankruptcy.25 The United States Department of Justice reported that

   from 1994 to 2000, in Chapter 7 asset cases, 30% to 40% of total estate receipts were disbursed

   as fees and expenses to trustees and other professionals.26 This was true regardless of the size of



   24
     SEC v. Megafund Corp., No. 3:05–CV–1328–L, 2008 WL 2839998, at *2 (N.D. Tex. June 24,
   2008) (approving final request for fees and expenses comprising 22.4% of total recovery by
   Receiver in light of complexities of case, difficulties in tracing proceeds, and results obtained);
   SEC v. Funding Res. Group, No. Civ.A.3:98–CV–2689–M, 2003 WL 145411, at *1 (N.D. Tex.
   Jan. 15, 2003) (costs of administration totaled 21% of cash and assets finally recovered by
   receiver).
   25
        W.L. Moody & Co., 374 F. Supp. at 481.
   26
        U.S. DOJ, U.S. Trustee Program Prelim. Rep. on Ch. 7 Asset Cases 1994 to 2000, attached as
                                                                                                                          SCHWABE, WILLIAMSON & WYATT, P.C.
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   the case.27 The fees incurred in this case are a significantly smaller percentage of the total

   recoveries through the end of the Twenty-Fourth Application Period than any of these cases and

   the Receivership Entity has benefitted by avoiding additional fees that would have been incurred

   if investment bankers were retained.

                                               IV.   CONCLUSION

              The relief requested herein is appropriate and in furtherance of the provisions of the Final

   Receivership Order appointing the Receiver. Accordingly, the Receiver respectfully requests that

   the Court enter an order approving the fees and expenses requested in the Twenty-Fourth Interim

   Fee Application, for the period from January 1, 2022 through March 31, 2022.

              Dated this 7th day of July, 2022.

                                                     Respectfully submitted,

                                                     SCHWABE, WILLIAMSON & WYATT, P.C.


                                                     By: _/s/ Troy Greenfield__________________
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                                                        Aequitas Commercial Finance, LLC, Aequitas
                                                        Capital Management, Inc., and Aequitas
                                                        Investment Management, LLC




   Exhibit P, App’x 187, 192.
   27
        Id.
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